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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
Elizabeth Kahn, No. 16-cv-17039                     )




                                 ORDER AND REASONS

         Before the Court is a Motion for Reconsideration (Doc. 9946). For the
following reasons, the Motion is DENIED.



                                       BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial was held in
September 2019, and the second is set for October 19, 2020.
         In its Order and Reasons dated April 7, 2020 (Doc. 9885), the Court
denied Sanofi’s Motion for Summary Judgment against Plaintiff Elizabeth
Kahn. The Court held that there is an issue of fact on whether contra non
valentem applies to toll prescription for Plaintiff Kahn. The Court discussed a


1   Docetaxel is the generic version of Taxotere.
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certain conversation that Kahn had with her gynecologist, who told Kahn that
her hair loss might be due to age rather than her chemotherapy.
       In the instant Motion, Sanofi asks the Court to reconsider its ruling.
Sanofi argues that Kahn did not rely on the conversation with her gynecologist
but instead rejected the idea that her age might have caused her hair loss.
Sanofi further argues that the conversation between                        Kahn and her
gynecologist occurred before Kahn’s injury was realized. For these reasons,
Sanofi avers that contra non valentem is inapplicable.


                                  LEGAL STANDARD

       A motion to reconsider an interlocutory order is governed by Federal
Rule of Civil Procedure 54(b). 2 “Under Rule 54(b), ‘the trial court is free to
reconsider and reverse its decision for any reason it deems sufficient, even in
the absence of new evidence or an intervening change in or clarification of the
substantive law.’” 3 Rule 54(b), however, does not give the Court unlimited
power to consider new arguments. 4 “Any position is supportable by boundless
arguments,” but “[j]udicial economy counsels against reconsidering an issue
each time someone presents a new argument.” 5 “When there exists no
independent reason for reconsideration other than mere disagreement with a
prior order, reconsideration is a waste of judicial time and resources and should
not be granted.” 6


2 FED. R. CIV. P. 54(b) (noting that a district court may revise at any time prior to final
  judgment “any order . . . that adjudicates fewer than all the claims or the rights and
  liabilities of fewer than all the parties”). See McClendon v. United States, 892 F.3d 775, 781
  (5th Cir. 2018).
3 Austin v. Kroger Texas, L.P., 864 F.3d 326, 336 (5th Cir. 2017) (quoting Lavespere v.

  Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 185 (5th Cir. 1990)).
4 Livingston Downs Racing Ass’n, Inc. v. Jefferson Downs Corp., 259 F.Supp.2d 471, 480

  (M.D. La. 2002).
5 Id. at 481.
6 Hightower v. Group 1 Automotive, Inc., 2016 WL 3430569, at *3 (E.D. La. June 22, 2016).

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                                  LAW AND ANALYSIS
         Sanofi argues that contra non valentem is inapplicable here because
Kahn has not shown reliance as required by the doctrine of contra non
valentem. Sanofi points to certain deposition testimony from Kahn that the
Court discussed in its original Order and Reasons:
                Q:     Have you ever asked any health care provider
                       why they thought your hair is thinner than it
                       was before chemotherapy?

                A:     I talked once to my gynecologist, and her
                       comments were back -- her comment to me was,
                       Well, as you age, your hair gets thinner.

                Q:     And which gynecologist was this?

                A:     Dr. Roberie.

                Q:     So have you considered whether the current
                       condition of your hair is affected by the aging
                       process?

                A:     I was 50 at the time, and most 50-year-old’s hair
                       do not thin. You know, 80, maybe, but not 50. So
                       when she told me that, I was a little taken
                       aback, but -- so I dropped it. 7

Sanofi avers that Kahn “dropped” the question because she did not believe Dr.
Roberie’s explanation applied to her. Sanofi argues that Kahn’s testimony is
clear—she did not rely on what Dr. Roberie said about a link between age and
hair thinning.
         Sanofi’s interpretation of Kahn’s testimony is certainly reasonable, but
it is not the only reasonable interpretation. 8 Ultimately, the interpretation of


7   Doc. 9418-17 (Ex. P) (pp. 257–58 of deposition).
8   See Crochet v. Bristol-Myers Squibb Co., 2020 WL 1242521, at *3 (5th Cir. 2020) (reversing
    district court grant of summary judgment and finding issue of fact on contra non valentem)
    (“The court’s interpretation of this passage — that Crochet connected his mouth movements

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Kahn’s testimony is a question of fact for the jury. A jury must assess the
degree to which Kahn reasonably relied on what her doctors told her about the
possible causes of her permanent hair loss. As the Court made clear in its
Order and Reasons, the evidence shows that Kahn had conversations with her
doctors about her injury. Kahn investigated her injury to some extent. Thus,
there is an issue of fact on whether these conversations are sufficient to invoke
contra non valentem and toll prescription.
      Next, Sanofi argues again that Kahn’s injury had not yet been realized
when she spoke with her gynecologist about her hair loss. Sanofi avers that, at
the time of her conversation with Dr. Roberie, Kahn’s hair loss could not yet be
deemed “permanent.” Kahn has defined permanent hair loss as hair loss
existing six months after chemotherapy. Using this definition, Sanofi avers
that Kahn spoke to Dr. Roberie weeks before her injury was realized. The
Court rejects this argument. Even if Kahn spoke to doctors when her injury
was only partially realized, a jury could find that Kahn reasonably relied on
these conversations to determine the cause of her injury.


                                  CONCLUSION

      For the foregoing reasons, Defendants’ Motion for Reconsideration (Doc.
9946) is DENIED.
      New Orleans, Louisiana this 13th day of May, 2020.




                                           JANE TRICHE MILAZZO
                                           UNITED STATES DISTRICT JUDGE

 to Abilify almost immediately after he began experiencing those symptoms — is certainly
 reasonable. But it is not the only reasonable interpretation. Equally plausible is that
 Crochet’s answer was insight that came only with the benefit of hindsight.”).
                                            4
